                               Exhibit A

Detailed Description of AlixPartners’ Fees and Hours by Matter Category




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Legacy Cares, Inc.
6321 S. Ellsworth Road
Suite 146
Mesa, AZ 85212




Re:               Meetings & Communication with UCC and Creditors
Code:             20009173P00001.1.2

DATE              PROFESSIONAL                                  DESCRIPTION OF SERVICES                                       HOURS
  11/08/2023      TGP                    Review email from Counsel summarizing case updates                                      0.2
  11/10/2023      TGP                    Review emails with L. Bonito (AlixPartners) and J. Kroop (Pachulski) re: status of      0.2
                                         fee applications
Total Professional Hours                                                                                                         0.4




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Re:                                 Meetings & Communication with UCC and Creditors
Code:                               20009173P00001.1.2

PROFESSIONAL                                                          RATE            HOURS         FEES
Thomas G Prince                                                        $735              0.4   $   294.00
Total Professional Hours and Fees                                                        0.4   $   294.00




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Legacy Cares, Inc.
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Mesa, AZ 85212




Re:               Analysis of Liquidity and Cash Management
Code:             20009173P00001.1.7

DATE               PROFESSIONAL                                  DESCRIPTION OF SERVICES                           HOURS
  11/06/2023       TGP                   Analyze the Debtor's budget vs. actuals reporting package sent 11/2/23       0.9
  11/06/2023       TGP                   Analyze the Debtor's budget vs. actuals reporting package sent 10/20/23      0.7
  11/17/2023       TGP                   Analyze the Debtor's budget vs. actuals reporting package sent 11/16/23      1.2
Total Professional Hours                                                                                              2.8




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6321 S. Ellsworth Road
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Mesa, AZ 85212




Re:                                 Analysis of Liquidity and Cash Management
Code:                               20009173P00001.1.7

PROFESSIONAL                                                           RATE     HOURS            FEES
Thomas G Prince                                                         $735       2.8   $    2,058.00
Total Professional Hours and Fees                                                  2.8   $    2,058.00




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Mesa, AZ 85212




Re:               Fee Applications & Fee Statements
Code:             20009173P00001.1.20

DATE              PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
  11/07/2023      LMB                     Prepare professional fees for October 2023 monthly fee application.                      0.5
  11/08/2023      LMB                     Prepare Fifth Monthly Interim Fee Application (October 2023)                             1.3
  11/08/2023      LMB                     Prepare schedule/exhibit workbook for October 2023 monthly fee application               0.6
  11/08/2023      LMB                     Finalize Fifth Monthly Interim Fee Application (October 2023)                            0.3
  11/08/2023      LMB                     Email to J. Kroop (PSZJ) attaching Fifth Monthly Interim Fee Application for filing      0.2
                                          on the Court docket
  11/08/2023       LMB                    Update fee application status chart                                                      0.2
  11/08/2023       DM                     Review Legacy Cares October fee application                                              0.5
  11/08/2023       KAS                    Review draft October monthly fee application                                             0.3
  11/08/2023       TGP                    Review professional fees for October monthly fee application                             0.3
  11/08/2023       TGP                    Provide comments to updated draft October monthly fee application                        0.1
  11/08/2023       TGP                    Provide comments to draft October monthly fee application                                0.2
  11/08/2023       TGP                    Review updated draft October monthly fee application                                     0.2
  11/08/2023       TGP                    Review draft October monthly fee application                                             0.4
  11/17/2023       LMB                    Call with J. Kroop (PSZJ) re: fee application process                                    0.2
  11/17/2023       LMB                    Email to D. MacGreevey (AlixPartners) re: fee orders                                     0.2
  11/17/2023       LMB                    Review court docket                                                                      0.2
Total Professional Hours                                                                                                           5.7




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Re:                                 Fee Applications & Fee Statements
Code:                               20009173P00001.1.20

PROFESSIONAL                                                            RATE     HOURS          FEES
David MacGreevey                                                        $1,330      0.5   $    665.00
Thomas G Prince                                                         $735        1.2         882.00
Kaitlyn A Sundt                                                         $585        0.3         175.50
Lisa Marie Bonito                                                       $500        3.7       1,850.00
Total Professional Hours and Fees                                                   5.7   $   3,572.50




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